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  Connell Foley LLP                                                                                   Neil V. Mody
  56 Livingston Avenue                                                                                      Partner
  Roseland, NJ 07068                                                                      Direct Dial 973.533.4234
  P 973.535.0500 F 973.535.9217
                                                                                         NMody@connellfoley.com




                                                               July 9, 2018
            VIA ECF
            The Honorable Lois H. Goodman, U.S.M.J
            Clarkson S. Fisher Building
            & United States Courthouse
            402 East State Street
            Trenton, New Jersey 08608

                   Re:    Capitol Specialty Ins. Corp. v. 35 Club, LLC, et al.,
                          Civil Action No. 3:18-cv-03399-MAS-LHG (the “DJ Action”)

                          Brooke Marrin, et al. v. 35 Club, LLC., et al.
                          Civil Action No. 3:17-cv-07028-MAS-LHG (the “Underlying Action”)

            Dear Judge Goodman:

                   We write on behalf of plaintiff, Capitol Specialty Insurance Corporation (“CSIC”), in
            connection with the above-referenced DJ Action. We write in furtherance of Your Honor’s
            request for a status update.

                    We are pleased to report that the parties to the Underlying Action have recently reached
            a settlement in principle, which obviates the need for the DJ Action. We have been informed by
            counsel in the Underlying Action that the parties to the Underlying Action have signed the
            necessary Settlement Agreements, and that they expect a Stipulation of Dismissal to be filed in
            the in Underlying Action shortly. Once same is filed, we will file a separate Stipulation of
            Dismissal in the DJ Action.

                   We sincerely appreciate Your Honor’s time and consideration of this matter. Should
            Your Honor have any questions or concerns, we are always available.

                                                               Respectfully submitted,

                                                               s/ Neil V. Mody

                                                               Neil V. Mody

            cc:    Ezra Sutton, Esq.




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